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UNITED STATES DISTRICT COURT
DISTRICT OF CONNECTICUT

                                          :
Tristano Korlou,                          :
                                          :
                                          : Civil Action No.: 3:10-cv-01252
                    Plaintiff,            :
      v.                                  :
                                          :
Pentagroup Financial, LLC; and DOES       :
1-10, inclusive,                          :
                                          :
                    Defendant.            :


            NOTICE OF WITHDRAWAL OF COMPLAINT AND VOLUNTARY
                    DISMISSAL OF ACTION WITH PREJUDICE
                          PURSUANT TO RULE 41(a)


       Tristano Korlou (“Plaintiff”), by Plaintiff’s attorney, hereby withdraws the
complaint and voluntarily dismisses this action, with prejudice, pursuant to Fed.
R. Civ. P. 41(a)(1)(A)(i).


Dated: November 23, 2010

                                           Respectfully submitted,

                                           PLAINTIFF, Tristano Korlou

                                           /s/ Sergei Lemberg

                                           Sergei Lemberg, Esq.
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                           CERTIFICATE OF SERVICE

      I hereby certify that on November 23, 2010, a true and correct copy of the
foregoing Notice of Withdrawal was served electronically by the U.S. District
Court for the District of Connecticut Electronic Document Filing System (ECF)
and that the document is available on the ECF system.

                                      By_/s/ Sergei Lemberg_________

                                          Sergei Lemberg
